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4    Telephone: (916) 554-2729
5
6
                       IN THE UNITED STATES DISTRICT COURT
7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,        )          CR. No. S-08-392 GEB
10                                    )
                     Plaintiff,       )
11                                    )          MOTION TO DISMISS INDICTMENT
                  v.                  )          AND [PROPOSED] ORDER
12                                    )
     JUAN MADRIGAL RIZO,              )
13                                    )
                      Defendant.      )
14   _________________________________)
15
16         Pursuant to Rule 48 of the Federal Rules of Criminal
17   Procedure, Plaintiff, United States of America, by and through
18   its undersigned attorney, moves this Court for an order
19   dismissing the indictment against Juan Madrigal Rizo in Case No.
20   S-08-392 GEB. The indictment in this case was filed on August 28,
21   2008.    The indictment charged the defendant with violating 21
22   U.S.C. §§ 846 and 841(a)(1) – Conspiracy to Distribute and
23   Possess with Intent to Distribute Over 500 Grams of
24   Methamphetamine.     The government asks that the indictment be
25   dismissed without prejudice.
26   ///
27   ///
28   ///

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1         This motion is made in the interest of justice in light of
2    evidence discovered post indictment.
3         The defendant is currently out of custody.
4
5    DATED: March 11, 2011                      BENJAMIN B. WAGNER
                                                United States Attorney
6
7                                          By: /s/ Michael M. Beckwith
                                               MICHAEL M. BECKWITH
8                                              Assistant U.S. Attorney
9
10
11                                     O R D E R
12
13   APPROVED AND SO ORDERED:
14   Dated:     March 22, 2011
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16                                     GARLAND E. BURRELL, JR.
17                                     United States District Judge

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